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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------- x
In re:                                                      :   Chapter 11
                                                            :
Residential Capital, LLC, et al.,                           :   Case No. 12-12020 (MG)
                                                            :
                                    Debtors.                :   Jointly Administered
                                                            :
----------------------------------------------------------- x

                    NOTICE OF THE DEADLINE AND PROCEDURES FOR
                      FILING CERTAIN ADMINISTRATIVE CLAIMS

        PLEASE TAKE NOTICE THAT, on December [●], 2013, the United States
Bankruptcy Court for the Southern District of New York (the “Court”), having jurisdiction over
the chapter 11 cases of Residential Capital, LLC and its affiliated debtors, as debtors in
possession (collectively, the “Debtors”) entered an order confirming the Second Amended Joint
Chapter 11 Plan Proposed by Residential Capital, LLC, et al. and the Official Committee of
Unsecured Creditors [Docket No. 6030-1] (as may be amended, modified or supplemented from
time to time, the “Plan”).1

         Pursuant to the Plan, the Administrative Claim Bar Date shall be the first Business Day
that is thirty (30) days following the Effective Date, [January [●], 2014] (the “Administrative
Claims Bar Date”), unless otherwise ordered by the Bankruptcy Court. This date, [January
[●], 2014] is the last date and time for each person or entity (including, without limitation,
individuals, partnerships, corporations, joint ventures, trusts and governmental units as defined in
section 101(27) of the Bankruptcy Code) to file a request for payment (a “Request for
Payment”) for each Administrative Claim (as defined below) against any of the Debtors.

1.      WHO MUST FILE A REQUEST FOR PAYMENT

      You MUST file a Request for Payment if you have an Administrative Claim and it is
not among the types of claims described in section 2 below.

        Pursuant to section 101(5) of the Bankruptcy Code and as used in this notice, the word
“claim” means: (a) a right to payment, whether or not such right is reduced to judgment,
liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,
equitable, secured, or unsecured; or (b) a right to an equitable remedy for breach of performance
if such breach gives rise to a right to payment, whether or not such right to an equitable remedy
is reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured, or
unsecured.

       An Administrative Claim means any Claim for costs and expenses of administration
under sections 503(b), 507(b), or 1114(e)(2) of the Bankruptcy Code, including the actual and
1
        Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Plan.



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necessary costs and expenses incurred on and after May 14, 2012 through [December [●],
2013] of preserving the Estates and operating the businesses of the Debtors, any indebtedness or
obligations assumed by the Debtors in connection with the conduct of their businesses, and any
Claim for goods delivered to the Debtors within twenty (20) days of the Petition Date and
entitled to administrative priority pursuant to section 503(b)(9) of the Bankruptcy Code.

       Please consult your legal advisor if you have any uncertainty as to whether your proposed
claim may constitute an Administrative Claim. The preceding explanation is intended to provide
guidance, not to serve as legal advice.

2.     WHO NEED NOT FILE A REQUEST FOR PAYMENT

       You do not need to file a Request for Payment on or prior to the Administrative Claim
Bar Date if you are a:

       (a)    holder of an Allowed Administrative Claim;

       (b)    holder of an Administrative Claim paid in the ordinary course of business;

       (c)    holder of a Claim of a Governmental Unit not required to be filed pursuant to
              section 503(b)(1)(D) of the Bankruptcy Code;

       (d)    holder of a Professional Claim;

       (e)    holder of a Claim for U.S. Trustee Fees.

       You should not file a request for payment for an Administrative Claim if you do not
have an Administrative Claim against the Debtors, or if the Administrative Claim you held
against the Debtors has been paid in full.

       This notice is being sent to many persons and entities that have had some
relationship with or have done business with the Debtors but may not have an unpaid claim
against the Debtors. The fact that you have received this notice does not mean that you
have an Administrative Claim or that the Debtors or the Court believe that you have an
Administrative Claim.

3.     WHAT TO FILE AND SERVE

        All requests for payment of an Administrative Claim must be made in writing, conform
to the Bankruptcy Rules and the Local Rules for the United States Bankruptcy Court Southern
District of New York (the “Local Bankruptcy Rules”), be filed with the Bankruptcy Court, and
served on the Plan Proponents or the Liquidating Trust, as applicable, so as to be received no
later than January [●], 2014.

       Any holder of an Administrative Claim against more than one debtor must file a separate
claim with respect to each such Debtor and all holders of claims must identify on their Request
for Payment the specific Debtor against which their claim is asserted and the case number of that
Debtor’s bankruptcy case.

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4.     CONSEQUENCES OF FAILURE TO FILE A REQUEST FOR PAYMENT BY
       THE ADMINISTRATIVE CLAIM BAR DATE

              Any holder of an Administrative Claim who is required to, but does not, file and
serve a Request for Payment of an Administrative Claim pursuant to the procedures specified
herein on or prior to the Administrative Claim Bar Date shall be barred from asserting such
Administrative Claim against the Debtors, the Plan Trusts, or their assets or properties, and
such Administrative Claims shall be deemed discharged as of the Effective Date.

             A holder of a possible claim against the Debtors should consult an attorney
regarding any matters not covered in this notice, such as whether the holder should file a
Request for Payment. Neither the attorneys for the Plan Proponents, the Liquidating
Trust, nor the Debtors’ Court-appointed noticing and claims agent, Kurtzman Carson
Consultants LLC, are authorized to provide you with any legal advice.

                               RESERVATION OF RIGHTS

               The Debtors and Liquidating Trust reserve the right to object to (i) any claim,
whether filed or scheduled (e.g., as contingent, unliquidated or disputed), and (ii) any
Administrative Claim on any ground, or to dispute, or to assert offsets against or defenses to,
any claim, as to amount, liability, classification, or otherwise, and to subsequently designate
any claim as disputed, contingent and/or unliquidated.



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      IF YOU HAVE ANY QUESTIONS REGARDING THIS NOTICE, PLEASE
     CONTACT THE DEBTORS’ RESTRUCTURING HOTLINE AT (888) 251-2914

Dated: December [●], 2013
       New York, New York

                                         Gary S. Lee
                                         Lorenzo Marinuzzi
                                         Todd M. Goren
                                         Jennifer L. Marines
                                         MORRISON & FOERSTER LLP
                                         1290 Avenue of the Americas
                                         New York, New York 10104
                                         Telephone: (212) 468-8000
                                         Facsimile: (212) 468-7900

                                         Counsel for the Debtors and
                                         Debtors in Possession

                                         -and-

                                         Kenneth H. Eckstein
                                         Douglas H. Mannal
                                         Stephen D. Zide
                                         Rachael L. Ringer
                                         KRAMER LEVIN NAFTALIS &
                                         FRANKEL LLP
                                         1177 Avenue of the Americas
                                         New York, New York 10036
                                         Telephone: (212) 715-3280
                                         Facsimile: (212) 715-8000

                                         Counsel for the Official Committee of
                                         Unsecured Creditors




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